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                                  UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                             www.flsb.uscourts.gov
                                                 CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                             Original Plan
                                                                   Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                           7th                                     Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Manuel Gomez                                    JOINT DEBTOR:                                       CASE NO.: 16-16796-SMG
SS#: xxx-xx- 2479                                          SS#: xxx-xx-
I.           NOTICES
                                 To Debtors:         Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans,
                                 amended plans and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk
                                 pursuant to Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within
                                 30 days of filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                                 To Creditors:     Your rights may be affected by this plan. You must file a timely proof of claim in order to be
                                 paid. Your claim may be reduced, modified or eliminated.
                            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor
                            (s) must check one box on each line listed below in this section to state whether the plan includes any of the
                            following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                             Included             Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                             Included             Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                            Included             Not included
II.          PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's fees
               of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $2,744.83            for months    1    to 43 ;

                   2.   $4,272.43            for months 44 to 44 ;

                   3.   $440.67              for months 45 to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                               NONE     PRO BONO
        Total Fees:               $5150.00           Total Paid:            $2102.50           Balance Due:           $3047.50
        Payable            $47.62            /month (Months 1      to 43 )
        Payable           $1,000.00          /month (Months 44 to 44 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3,500.00 Safe Harbor, $150.00 Costs, $500.00 1st Mod Plan, $500.00 Motion to Approve Short Sale, $500.00 4th, 5th &6th Mod
        Plan
        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.         TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                 NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:




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         1. Creditor: Citi Mortgage
              Address: c/o Cenlar                        Arrearage/ Payoff on Petition Date     11,383.44
                       425 Philips Blvd
                                                         Arrears Payment (Cure)                             $155.65      /month (Months   1   to 43 )
                       Ewint, NJ 08618-1430
                                                         Regular Payment (Maintain)                      $1,333.47       /month (Months   1   to 43 )
         Last 4 Digits of
         Account No.:                  6671
        Other:            Approved Short Sale of Property Pending Court Approval of Motion to Approve Short Sale.

             Real Property                                                       Check one below for Real Property:
                       Principal Residence                                              Escrow is included in the regular payments
                       Other Real Property                                              The debtor(s) will pay        taxes     insurance directly
         Address of Collateral:
         510 NW 106 Tr Pembroke Pines FL 33026

             Personal Property/Vehicle
         Description of Collateral: Homestead Property (Subject to Pending Short Sale)

         2. Creditor: Southbridge Homeowner's Association, Inc.
              Address: c/o Daniel Wasserstein,           Arrearage/ Payoff on Petition Date      $28,716.39
                       Esq., 301 Yamato Road,
                                                         Arrears Payment (Cure)                             $409.16      /month (Months   1   to 43 )
                       Suite 2199, Boca Raton,
                       FL 33431                          Regular Payment (Maintain)                         $231.27      /month (Months   1   to 43 )

         Last 4 Digits of
         Account No.:
        Other:            HOA- Receiving $3,240.00 at Short Sale Closing. Balance of $7,882.64 to be paid in plan.

             Real Property                                                       Check one below for Real Property:
                       Principal Residence                                              Escrow is included in the regular payments
                       Other Real Property                                              The debtor(s) will pay        taxes     insurance directly
         Address of Collateral:
         510 NW 106 Ter Pembroke Pines, FL 33026

             Personal Property/Vehicle
         Description of Collateral: Homestead property (Subject to Pending Short Sale)




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         3. Creditor: Southbridge Homeowner's Association, Inc.
              Address: c/o Daniel Wasserstein,              Arrearage/ Payoff on Petition Date
                       Esq., 301 Yamato Road,
                                                            Arrears Payment (Cure)                          $1,697.04      /month (Months 44   to 44 )
                       Suite 2199, Boca Raton,
                       FL 33431                             Arrears Payment (Cure)                           $386.60       /month (Months 45   to 60 )

         Last 4 Digits of
         Account No.:
        Other:            Balance of Arrearage to be paid in plan after short sale of homestead property.

             Real Property                                                          Check one below for Real Property:
                       Principal Residence                                                 Escrow is included in the regular payments
                       Other Real Property                                                 The debtor(s) will pay       taxes    insurance directly
         Address of Collateral:



             Personal Property/Vehicle
         Description of Collateral:
            B. VALUATION OF COLLATERAL:                            NONE
            C. LIEN AVOIDANCE                     NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                          NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution fom
               the Chapter 13 Trustee.
                          NONE
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                               NONE
            B. INTERNAL REVENUE SERVICE:                           NONE
            C. DOMESTIC SUPPORT OBLIGATION(S):                             NONE
            D. OTHER:                 NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay              $448.10       /month (Months     1    to 43 )
                       Pay        $1,148.15      /month (Months 44       to 44 )
                       Pay         $10.00        /month (Months 45       to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.            If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                       NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.          EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                          NONE
VII.         INCOME TAX RETURNS AND REFUNDS:                            NONE
                          Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.
VIII.        NON-STANDARD PLAN PROVISIONS                          NONE
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